 Case: 1:13-cv-00004-MRB Doc #: 110 Filed: 05/07/19 Page: 1 of 3 PAGEID #: 2136




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                         WESTERN DIVISION AT CINCINNATI

BOARD OF TRUSTEES OF THE PLUMBERS,           :
PIPEFITTERS & MECHANICAL EQUIPMENT           :
SERVICE, LOCAL UNION NO. 392 PENSION         : Case No. 13-CV-0004
FUND et al.,                                 :
                                             :
                Plaintiffs,                  : Judge Michael R. Barrett
                                             :
        vs.                                  :
                                             :
SUSAN L. HUMBERT d/b/a GENESIS               :
MECHANICAL, an individual and sole           : STIPULATED JUDGMENT
proprietor;                                  : ORDER
STEVEN L. HUMBERT d/b/a GENESIS              :
MECHANICAL, an individual and sole           :
proprietor;                                  :
STEVE REECE formerly d/b/a GENESIS           :
MECHANICAL SERVICES, an individual and       :
sole proprietor; and                         :
GENESIS MECHANICAL SERVICES, INC., an :
Ohio Corporation;                            :
                                             :
                        Defendants.          :
              _______________________________________________________

       Plaintiffs, the BOARD OF TRUSTEES OF THE PLUMBERS, PIPEFITTERS &

MECHANICAL EQUIPMENT SERVICE, LOCAL UNION NO. 392 PENSION FUND et al.

(“Trust Funds”), by and through their counsel, Joseph E. Mallon and Jeffrey A. Krol of Johnson

& Krol, LLC, the Defendants STEVEN HUMBERT (“Steven”) and SUSAN HUMBERT

(“Susan”), by and through their counsel, Douglas M. Morehart of Haverkamp Riehl & Michel, Co.

LPA, and the Defendants STEVE REECE d/b/a GENESIS MECHANICAL SERVICES

(“Reece”) and GENESIS MECHANICAL SERVICES, INC. (“GMSI”), by and through their

counsel, Bryce J. Yoder of Keating, Muething & Klekamp, PLL, hereby stipulate to entry of a

Judgment in favor of the Defendants as follows:




                                          Page 1 of 3
     Case: 1:13-cv-00004-MRB Doc #: 110 Filed: 05/07/19 Page: 2 of 3 PAGEID #: 2137




          WHEREAS, on April 1, 2019, the United States Court of Appeals for the Sixth Circuit

issued its Opinion in Case Nos. 18-3686/3691 granting Defendants’ appeal and denying Plaintiffs’

appeal.

          WHEREAS, there being no dispute amongst the Parties as to the amount of damages due

Plaintiffs based upon the Appellate Court’s Opinion, the Parties agree to the entry of a Stipulated

Judgment in accordance with the terms below:

IT IS HEREBY STIPULATED AND ORDERED AS FOLLOWS:

1.        All prior Judgment Orders entered by this Court are vacated.

2.        Plaintiffs’ Motion for Award of Attorneys’ Fees (Doc. 91) is withdrawn.

3.        Judgment is hereby entered in favor of the Defendants Reece and GMSI, and against the

          Plaintiffs.

4.        Consistent with the Appellate Court’s Mandate of “no costs” issued on April 23, 2019,

          each party shall bear and be responsible for their own attorney’s fees and costs.



                                                       _s/ Michael R. Barrett____
                                                       Michael R. Barrett, Judge
                                                       United States District Court


Agreed and So Stipulated:

BOARD OF TRUSTEES OF THE
PLUMBERS, PIPE FITTERS &                              SUSAN L. HUMBERT and
MECHANICAL EQUIPMENT SERVICE,                         STEVEN L. HUMBERT
LOCAL UNION NO. 392 PENSION FUND,
et al.

/s/ Joseph E. Mallon                                  /s/ Douglas M. Morehart______________
Joseph E. Mallon (0085786)                            Douglas M. Morehart
Jeffrey A. Krol (admitted pro hac vice)               Counsel for Defendants Steven and Susan
Counsel for Plaintiffs                                Humbert
JOHNSON & KROL, LLC                                   HAVERKAMP REIHL & MICHEL



                                              Page 2 of 3
 Case: 1:13-cv-00004-MRB Doc #: 110 Filed: 05/07/19 Page: 3 of 3 PAGEID #: 2138




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GENESIS MECHANICAL SERVICES,
INC. and STEVE REECE


/s/ Bryce J. Yoder_______________
Bryce J. Yoder
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Mechanical Services, Inc. and Steve Reece
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                                      Page 3 of 3
